






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00017-CV






Juan Enriquez, Appellant


v.


The Honorable Rhonda Hurley, Individually and in her Official Capacity;

The Honorable Scott H. Jenkins, Individually and in his Official Capacity;

The Honorable Stephen Yelenosky, Individually and in his Official Capacity;

The Honorable Gisela D. Triana-Doyal, Individually and in her Official Capacity;

The Honorable Darlene Byrne, Individually and in her Official Capacity;

The Honorable Suzanne Covington, Individually and in her Official Capacity;

The Honorable Lora Livingston, Individually and in her Official Capacity;

The Honorable John K. Dietz, Individually and in his Official Capacity; and

The Honorable Margaret A. Cooper, Individually and in her Official Capacity, Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 53RD JUDICIAL DISTRICT

NO. D-1-GN-09-002055, HONORABLE BRENDA CHAPMAN, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		This appeal involves claims peripheral to Enriquez v. Owens, No. D-1-GN-06-001219
(345th Dist. Ct., Travis County, Tex. Apr. 24, 2009) ("Owens").  In Owens, Juan Enriquez--an
inmate and repeat litigant (1)--asserted causes of action centering on his lack of success in obtaining
parole.  After he was unsuccessful in litigating these claims in the district court, Enriquez
appealed,&nbsp;and we affirmed.  See Enriquez v. Owens, No.&nbsp;03-09-00237-CV, 2010 WL 1507821
(Tex.&nbsp;App.--Austin Apr. 14, 2010, no pet.) (mem. op.) ("Enriquez I") and Enriquez v. Owens,
No.&nbsp;03-09-00309-CV, 2010 WL 2698764 (Tex. App.--Austin July 9, 2010, no pet. h.) (mem. op.)
("Enriquez II").  Meanwhile, Enriquez also brought a separate suit against appellees, all of whom
are judges who presently preside or formerly presided over Travis County district courts that
exercise&nbsp;civil jurisdiction.  Enriquez challenged the legality of the Local Rules of Civil Procedure
for the District Courts of Travis County, Texas, and sought declaratory and injunctive relief, as well
as damages and attorneys' fees.  Appellees moved to dismiss under chapter 14 of the civil practice
and&nbsp;remedies code.  See Tex. Civ. Prac. &amp; Rem. Code Ann. §§ 14.001-.014 (West 2002).  The
district court (with an out-of-county visiting judge presiding) granted appellees' motion to dismiss
without stating the grounds.  Enriquez appeals the judgment of dismissal.  We will affirm
the&nbsp;judgment.

		We need go no farther than to observe that, as appellees point out, Enriquez has
not&nbsp;challenged each of several alternative bases on which they sought dismissal under chapter 14.
Appellees asserted five grounds for dismissal:  (1) Enriquez had filed a false declaration disclosing
his prior pro se litigation (he identified only three prior suits, yet he has filed at least eighteen others),
see id.&nbsp;§§&nbsp;14.003(a)(3), 14.004; (2) Enriquez's suit constituted an impermissible collateral attack
on&nbsp;the district court's prior judgment in Owens; (3) absolute judicial immunity barred Enriquez's
claims for monetary relief; (4) Enriquez had failed to state a claim with arguable legal merit for
declaratory or injunctive relief, see id.&nbsp;§&nbsp;14.003(b)(2); and (5) Enriquez had failed to state a claim
with arguable legal merit for monetary relief.  On appeal, Enriquez challenges only three of these
grounds:  (1) that judicial immunity barred his claims for monetary relief, (2) that he failed to state
a claim with&nbsp;arguable legal merit for declaratory or injunctive relief, and (3) that he failed to state
a claim with arguable legal merit for monetary relief. (2)  Enriquez fails to challenge the other
two&nbsp;grounds raised by the motion--appellees' contentions that he filed a false declaration in
violation of section&nbsp;14.003(a)(3) and that his suit constituted an impermissible collateral attack on
a prior judgment. 

		When, as here, a complained-of ruling or judgment rests on general grounds,
the&nbsp;appellant must attack all independent bases or grounds that fully support the ruling or judgment.
See Oliphant Fin. LLC v. Angiano, 295 S.W.3d 422, 423-24 (Tex. App.--Dallas 2009, no pet.)
(citing Britton v. Texas Dep't of Criminal Justice, 95 S.W.3d 676, 681 (Tex. App.--Houston
[1st&nbsp;Dist.] 2002, no pet.)).  If he does not, then we must affirm the ruling or judgment.  Britton,
95&nbsp;S.W.3d at 681.  This is so because we accept the validity of an unchallenged independent ground,
and if that ground fully supports the judgment, any error as to other grounds would be harmless.  Id. 

		The unchallenged false-declaration and collateral-attack grounds each independently
support the district court's judgment dismissing Enriquez's claims against appellees.  See Tex. Civ.
Prac. &amp; Rem. Code Ann. §§&nbsp;14.003(a)(3), .004(a); White v. State, 37 S.W.3d 562, 565
(Tex.&nbsp;App.--Beaumont 2001, no pet.) (affirming dismissal of suit for failure to comply with
section&nbsp;14.004); Reiss v. Reiss, 118 S.W.3d 439, 443 (Tex. 2003) ("In general, as long as the court
entering a judgment has jurisdiction of the parties and the subject matter and does not act outside its
capacity as a court, the judgment is not void" and may not be collaterally attacked.).  Consequently,
we must affirm on these grounds regardless of whether Enriquez's appellate issues are meritorious. 
Accordingly, we overrule Enriquez's issues without reaching their merits (3) and affirm the
district&nbsp;court's judgment. 



						__________________________________________

						Bob Pemberton, Justice

Before Chief Justice Jones, Justices Puryear and Pemberton

Affirmed

Filed:   August 20, 2010

1.   Enriquez was convicted of murder with malice in 1968 and sentenced to death after he
"shot to death his girlfriend, her father, her brother, a woman he abducted, and a Texas Highway
Patrolman."  Enriquez v. Procunier, 752 F.2d 111, 113 (5th Cir. 1984) (federal habeas proceeding).
The jury imposed the death penalty for the capital murder of the abductee.  Id.  In four&nbsp;other
proceedings, Enriquez pled guilty to murder and received three concurrent 99-year sentences and
one&nbsp;25-year sentence.  Id.  Enriquez's death sentence was commuted to life imprisonment after the
statutory scheme under which his capital punishment was imposed was declared unconstitutional
under the 1972 Furman v. Georgia decision. Enriquez v. Owens, No.&nbsp;03-09-00309-CV,
2010&nbsp;WL&nbsp;2698764, at *1 (Tex. App.--Austin July 9, 2010, no pet. h.) (mem. op.).
2.   Enriquez contends in his first four issues that an arguable basis in law exists for his claims
that the local rules violate his state and federal rights of access to the courts, the Texas Constitution's
open courts provision, the equal protection provisions of the state and federal constitutions, and that
appellees are acting beyond their authority in the way they apply the local rules.  In his remaining
four issues, he challenges whether appellees are immune from judgment when adopting and
enforcing the local rules; whether the district court erred by finding that appellees' adopting the
local&nbsp;rules is an inherently judicial act, not an administrative one; whether the district court had
discretion to find that Enriquez had no standing to pursue his claims; and whether the district court
erred by dismissing his case with prejudice under chapter 14 because the dismissal should not
prejudice filing a paid complaint making the same allegations. 
3.   Nor do we reach several alternative arguments appellees advocate for affirming the
judgment.

